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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-cr-225 (DLF)
               v.                            :
                                             :
TRENISS JEWELL EVANS, III,                   :
                                             :
                      Defendant.             :

                   JOINT MOTION TO SCHEDULE PLEA HEARING
                 AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT

       The United States of America, by and through the United States Attorney for the District

of Columbia, and the defendant, by and through his counsel, respectfully move this Court to vacate

the status hearing currently scheduled for January 19, 2022 and schedule a plea hearing on January

31, 2022, and to exclude time under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A)

from January 19, 2022 until January 31, 2022. In support whereof, the government states as

follows:

       1.      The defendant was charged by criminal complaint on February 24, 2021, on charges

of Obstruction of an Official Proceeding, in violation of 18 U.S.C. §§ 1512(c)(2) & 2; Knowingly

Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority, in

violation of 18 U.S.C. § 1752(a)(1) & (2); and Violent Entry and Disorderly Conduct on Capitol

Grounds, in violation of 40 U.S.C. § 5104(e)(2)(D) & (G). The defendant was indicted on the

same charges on March 17, 2021.

       2.      The government has engaged in a substantial production of discovery, including

FBI records, electronic device and search warrant records, and bystander video footage. The

parties have also engaged in substantial discussions regarding possible resolutions short of trial,

and anticipate that the defendant will enter into a plea agreement with the government.
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       3.       The parties respectfully request that the status hearing in this case currently

scheduled for January 19, 2022, be vacated, and that a plea hearing be scheduled on or about

January 31, 2022, subject to the Court’s availability.

       4.       The government further moves, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude

time under the Speedy Trial Act in the interests of justice from January 19, 2022 until January 31,

2022. This additional period is necessary to allow the defendant to continue reviewing the

voluminous discovery in the case, and to allow the parties to finalize discussions regarding possible

resolutions of the case. Therefore, the government respectfully submits that the ends of justice

served by such exclusion would outweigh the best interest of the public and the defendant in a

speedy trial.

       5.       Counsel for the government has conferred with defense counsel regarding this

motion. The defendant joins the motion to continue the status hearing and waives his rights under

the Speedy Trial Act.

       WHEREFORE, the government respectfully moves that the status hearing in this case

currently scheduled for January 19, 2022, be vacated, and that a plea hearing be scheduled on or

about January 31, 2022, subject to the Court’s availability, and that the time from January 19,

2022until January 31, 2022be excluded from computation under the Speedy Trial Act.




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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           Acting United States Attorney
                           D.C. Bar No. 481052


                     By:   /s/ Christopher B. Brown
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